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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN


EVAN PETROS,                       :
                                   :
          Plaintiff,               :
                                   :
v.                                 : Case No. 2:17-cv-12790
                                   :
TWELVE & MAIN, INC.                :
                                   :
          Defendant.               :
__________________________________ :



/s/ Pete M. Monismith                         /s/ Caroline A. Grech-Clapper
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Pete@monismithlaw.com
Attorneys for Plaintiff

                    STIPULATED ORDER OF DISMISSAL


      The parties having stipulated to the entry of an Order dismissing, with

prejudice, this action, and the Court being fully advised in the premises;




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         IT IS HEREBY ORDERED that the above-entitled case BE, and hereby

IS, DISMISSED WITH PREJUDICE, and without costs or attorney fees to any

party.

Dated: March 2, 2018                      s/Sean F. Cox
                                          Sean F. Cox
                                          U. S. District Judge



The parties, through their counsel, hereby stipulate to the entry of the above
Stipulated Order to Dismiss the Complaint.



/s/ Pete M. Monismith                     /s/ Caroline A. Grech-Clapper
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Dated: February 23, 2018
